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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA

SAMANTHA SOHMER, Individually and
on Behalf of All Others Similarly Situated,        Case No. 18-cv-03191(JNE/BRT)
                      Plaintiffs,

            vs.                                      DEFENDANTS’ MOTION FOR
                                                       SUMMARY JUDGMENT
UNITEDHEALTH GROUP INC.,
UNITED HEALTHCARE SERVICES,
INC., UNITED HEALTHCARE
INSURANCE COMPANY, OPTUM,
INC., and OPTUMRX, INC.,

                      Defendants.


       Pursuant to Federal Rule of Civil Procedure 56, Defendants hereby move for

summary judgment pursuant against Plaintiff on all of her claims in the above matter.

This motion is based on all the files, records, and proceedings in this case, the arguments

of counsel, and Defendants’ Memorandum of Law and any supporting declarations and

exhibits.

Dated: April 30, 2021                          DORSEY & WHITNEY LLP

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